Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1670 Filed 04/03/23 Page 1 of 35




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 MARK W. DOBRONSKI,                              Case No. 2:22-cv-12039-DPH-JJCG

                     Plaintiff,                  Honorable Denise Page Hood
                                                 United States District Judge
 v.
                                                 Honorable Jonathan J.C. Grey
 FAMILY FIRST LIFE, LLC, et al.                  United States Magistrate Judge

                 Defendants.
 ____________________________________________________________________

             PLAINTIFF’S RESPONSE IN OPPOSITION TO
        DEFENDANT GREAT WESTERN INSURANCE COMPANY’S
          MOTION TO DISMISS PURSUANT TO RULE 12(B)(6)

       Plaintiff MARK W. DOBRONSKI, appearing in propria persona, hereby

 responds in opposition to Defendant Great Western Insurance Company’s Motion to

 Dismiss Pursuant to Rule 12(b)(6) [ECF No. 105].

       Plaintiff relies upon the points and authorities set forth in its appurtenant brief.

       WHEREFORE, for the reasons set forth herein and in the appurtenant brief,

 Plaintiff respectfully urges that the Court should either strike or deny Defendant Great

 Western Insurance Company’s motion to dismiss.
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1671 Filed 04/03/23 Page 2 of 35




                                          Respectfully submitted,


 Date: April 3, 2023                      _______________________________
                                          Mark W. Dobronski
                                          Post Office Box 85547
                                          Westland, Michigan 48185-0547
                                          Telephone: (734) 330-9671
                                          markdobronski@yahoo.com
                                          Plaintiff In Propria Persona
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1672 Filed 04/03/23 Page 3 of 35




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 MARK W. DOBRONSKI,                        Case No. 2:22-cv-12039-DPH-JJCG

                   Plaintiff,              Honorable Denise Page Hood
                                           United States District Judge
 v.
                                           Honorable Jonathan J.C. Grey
 FAMILY FIRST LIFE, LLC, et al.            United States Magistrate Judge

                 Defendants.
 ____________________________________________________________________




              PLAINTIFF’S BRIEF IN OPPOSITION TO
        DEFENDANT GREAT WESTERN INSURANCE COMPANY’S
          MOTION TO DISMISS PURSUANT TO RULE 12(B)(6)




                                       1
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1673 Filed 04/03/23 Page 4 of 35




                              ISSUES PRESENTED

 1.    Should Defendant’s motion be stricken or denied as a result of Defendant’s
       failure to comply with the mandatory “meet and confer” requirements of E.D.
       Mich. LR 7.1(a)?

 2.    Whether Plaintiff’s First Amended Complaint provides GWIC with fair notice
       of the claims against it?

 3.    Whether Plaintiff’s First Amended Complaint has stated a cause of action upon
       which relief can be granted under the Telephone Consumer Protection Act
       (“TCPA”), 47 U.S.C. § 227, et seq.?

 4.    Whether Plaintiff’s First Amended Complaint has stated a cause of action upon
       which relief can be granted under the Michigan Telephone Companies as
       Common Carriers Act (“MTCCCA”), M.C.L. § 484.101, et seq.?

 5.    Whether Plaintiff’s First Amended Complaint has stated a cause of action upon
       which relief can be granted under the Michigan Home Sales Soliciation Act
       (“MHSSA”), M.C.L. § 445.101, et seq.?

 6.    Whether Plaintiff’s First Amended Complaint adequately alleges a
       willful violation of the TCPA?




                                         2
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1674 Filed 04/03/23 Page 5 of 35




        CONTROLLING OR MOST APPROPRIATE AUTHORITIES

 AIG Aviation, Inc. v. Boorom Aircraft, Inc., 142 F.3d 431 (6th Cir. 1998)

 Bartholet v. Reishauer A.G. (Zürich), 953 F.2d 1073, 1078 (7th Cir.1992)

 Campbell-Ewald Co. v. Gomez, 136 S.Ct. 663, 674, 577 U.S. 153, 168 (2016)

 El Camino Resources, Ltd. v. Huntington Nat. Bank, 722 F.Supp.2d 875, 901
 (W.D.Mich., 2010)

 Siding and Insulation Co. v. Combined Ins. Group, Ltd., Inc., 2014 WL 1577465, at
 *4 (N.D.Ohio, 2014)

 U.S. v. Ramesh, 2009 WL 817549, at *6 (E.D.Mich., 2009)

 Worsham v. LifeStation, Inc., No. 661, Sept. 2020 Term, 2021 WL 5358876, at
 *16–17 (Md. Ct. Spec. App., 2021)

 In the Matter of Dish Network, LLC, 28 FCC Rcd, 6574, 2013 WL 1934349 (2013)

 Rules and Regulations Implementing the Telephone Consumer Protection Act of
 1991, 68 FR 44144 (2003)

 47 U.S.C. § 312(f)

 47 C.F.R. § 64.1601(e)

 Fed. R. Civ. P. 8

 Fed R. Civ. P. 12(b)(6)

 E.D. Mich. LR 7.1(a)




                                          3
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1675 Filed 04/03/23 Page 6 of 35




                                 INTRODUCTION

       Plaintiff Mark W. Dobronski commenced the instant case on August 31, 2022

 against Defendant Family First Life, LLC (“FFL”), three of its insurance companies,

 and several of its independent insurance agents stemming from violations of the

 Telephone Consumer Protection Act, 47 U.S.C. § 227, and related state consumer

 protection laws. A First Amended Complaint (“FAC”) was filed on February 22, 2023

 [ECF No. 99]. Defendant Great Western Insurance Company (“GWIC”) is one of the

 three named insurance companies.

       In the FAC, Plaintiff alleges to having received over 56 telephone solicitations

 hawking insurance products. [ECF No. 99, PageID.1023-1059, ¶¶ 102-349].

       GWIC now comes before the Court and argues that it cannot be held liable for

 the telephone solicitations received by Plaintiff, as “Plaintiff does not allege that

 GWIC made a single call to him.” [ECF No. 105, PageID.1112].

               NON-COMPLIANCE WITH E.D. MICH. LR 7.1(a)

       E.D. Mich. LR 7.1(a) promulgates:

              “Before filing a motion relating to discovery, the movant
              must comply with Federal Rule of Civil Procedure
              37(a)(1). Otherwise, the movant must ascertain before
              filing whether the contemplated motion or request under
              Federal Rule of Civil Procedure 6(b)(1)(A) will be
              opposed. To accomplish this, the movant must confer with
              the other parties and other persons entitled to be heard on
              the motion in good faith and in a manner that reasonably
              explains the basis for the motion and allows for an
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1676 Filed 04/03/23 Page 7 of 35




              interactive process aimed at reaching agreement on the
              matter or those aspects of the matter that can be resolved
              without court intervention, given the nature of the
              contemplated motion. The conference must be held
              sufficiently in advance of filing the motion to allow a good
              faith interactive exchange aimed at resolving the matter. If
              the movant obtains concurrence, the parties or other
              persons involved may make the subject matter of the
              contemplated motion or request a matter of record by
              stipulated order... If concurrence is not obtained, the
              motion or request must state... there was a conference
              between attorneys or unrepresented parties and other
              persons entitled to be heard on the motion in which the
              movant explained the nature of the motion or request and
              its legal basis and requested but did not obtain concurrence
              in the relief sought....” [E.D. Mich. LR 7.1(a)].

 The commentary to LR 7.1 goes on to state:

              “LR 7.1(a) requires that a moving party conduct a
              meaningful and timely conference with other parties to
              explain the nature of the relief sought and the grounds for
              the motion, to seek concurrence, and to narrow the issues.
              The Court's strong preference is for conferences held in a
              manner that facilitates discussion and debate, such as in
              person, by video or by telephone. Sometimes, email
              exchanges may suffice if the motion is rudimentary and
              uncomplicated, or to document conversations. But sending
              an email without engaging the other parties will not
              satisfy this rule.” [Emphasis added.]

       In this instance, Defendant GWIC’s attorney, Jennifer W. Weller, sent an email

 to Plaintiff late in the afternoon on March 8, 2023. Plaintiff was on a family vacation

 from March 8, 2023 through March 19, 2023. To GWIC’s counsel’s credit, she did


                                           2
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1677 Filed 04/03/23 Page 8 of 35




 attempt to telephone Plaintiff on March 10, 2023, but at the time of the incoming call

 (1:00 P.M. in Phoenix, 3:00 P.M. in Detroit), Plaintiff was going through

 Transportation Security Agency (“TSA”) screening at Phoenix (Arizona) Sky Harbor

 Airport and was directed by the TSA officers to turn off his cell phone. Plaintiff did

 try to contact GWIC’s counsel approximately 30 minutes later before boarding a 4-

 hour flight, without success. Defendant GWIC apparently filed its motion sometime

 shortly thereafter, and without any discussion.

       Sadly, Plaintiff has all too often observed that opposing attorneys simply want

 to send an email and promptly file their prospective motion without any discussion.

 Plaintiff reads LR 7.1(a) for what it expressly states: that the parties are required to

 “conference” regarding a prospective motion, and that an email does not meet the

 requirement. Leastwise, when Plaintiff has had motions to file, Plaintiff has always

 picked up the telephone and spoken (or attempted to speak) with the opposing

 attorney.

       In Plaintiff’s real time experience, more often than not, the opposing counsel

 sends an email late in the evening and files the motion the following morning. This

 simply does not appear to be compliance with the requirements of Rule 7.1. And,

 after receiving such an email, where Plaintiff has then tried to reach out to opposing

 counsel to discuss their to-be-filed motion, Plaintiff is unable to get beyond the voice

                                            3
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1678 Filed 04/03/23 Page 9 of 35




 mail of opposing counsel; ultimately the motion gets filed.

       Plaintiff commends GWIC’s counsel because she is one of few opposing

 attorneys who has actually attempted telephone communication with Plaintiff to

 discuss an impending motion. However, in the case of the instant motion, GWIC’s

 counsel knew for weeks that she intended to file a motion to dismiss, but she waited

 until the day before the deadline to even attempt to reach out (via email) to Plaintiff

 to “discuss” the motion, which is contrary to the requirement that the “[t]he

 conference must be held sufficiently in advance of filing the motion to allow a good

 faith interactive exchange aimed at resolving the matter.” Plaintiff believes that

 several of the issues raised in GWIC’s motion to dismiss could have been resolved

 with a “conference.”

       It is not up to the Court to expend its energies when the parties have not

 sufficiently expended their own. Hasbro, Inc. v. Serafino, 168 F.R.D. 99, 101 (D.

 Mass. 1996). Seeking concurrence from the opponent is a mandatory directive of the

 Local Rules of this District; inasmuch as defendant has failed to comply with this

 Local Rule prior to filing this motion, the Court must deny the relief that defendant

 seeks to obtain. U.S. v. Ramesh, 2009 WL 817549, at *6 (E.D.Mich.,2009). The Local

 Rules, as well as the Federal Rules of Civil Procedure, are called “rules,” not

 “suggestions” or “guidelines,” and as Justice (then Judge) Charles Levin stated in

                                           4
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1679 Filed 04/03/23 Page 10 of 35




  People v. Farrar, 36 Mich.App. 294, 299 193 N.W.2d 363, 366 (1971), “Unless we

  enforce the rules we encourage their violation....” Bryce v. Commissioner of Social

  Security, 2013 WL 12123666, at *1 (E.D. Mich. 2013).

         For these reasons alone, the Court should strike Defendants’ motion.

                                   LEGAL STANDARD

         In assessing a motion to dismiss under Rule 12(b)(6), this court construes the

  complaint in the light most favorable to the plaintiff, accepts the plaintiff's factual

  allegations as true, and determines whether the complaint “contain[s] sufficient

  factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

  Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009)

  (internal quotation and citation omitted); Inge v. Rock Financial Corp., 281 F.3d 613,

  619 (6th Cir.2002). A plaintiff's complaint must provide “more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not

  do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d

  929 (2007). In analyzing a 12(b)(6) motion, the court must “construe the complaint

  in the light most favorable to the plaintiff and accept all allegations as true.” Taylor

  v. City of Saginaw, 922 F.3d 328, 331 (6th Cir. 2019) (quoting Keys v. Humana, Inc.,

  684 F.3d 605, 608 (6th Cir. 2012)). However, the court does not have to accept as

  true “unwarranted factual inferences.” Total Benefits Planning Agency, Inc. v. Anthem

                                               5
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1680 Filed 04/03/23 Page 11 of 35




  Blue Cross & Blue Shield, 552 F.3d 430, 433 (6th Cir. 2008). The burden of

  demonstrating that the complaint fails to adequately state a claim falls on the

  defendant. Taylor, 922 F.3d at 331. However, ordinarily “if the requisite allegations

  are not in the complaint and a motion to dismiss for failure to state a claim upon

  which relief may be granted is made under Rule 12(b)(6), the pleader should be given

  the opportunity to amend the complaint, if she can, to show the existence of the

  missing elements.” Walker v. Shermeta, Adams, Von Allmen, PC, 623 Fed.Appx. 764,

  768 (6th Cir. 2015).

                                      ARGUMENT

               Liability of GWIC

        Throughout its motion, GWIC appears to be fixated on the theme that nowhere

  does Plaintiff “specifically identify GWIC as an entity that physically made any of

  the calls alleged.” [ECF No.105, PageID.1121]. But, GWIC does not have to be the

  person or entity that initiated the offensive telemarketing calls to be held liable under

  the TCPA. A defendant may be held vicariously liable for TCPA violations where

  the plaintiff establishes an agency relationship, as defined by federal common law,

  between the defendant and a third-party caller. Gomez v. Campbell-Ewald Co., 768

  F.3d 871, 879 (C.A.9 2014). Under federal common-law principles of agency, there

  is vicarious liability for TCPA violations. Campbell-Ewald Co. v. Gomez, 136 S.Ct.

                                             6
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1681 Filed 04/03/23 Page 12 of 35




  663, 674, 577 U.S. 153, 168 (2016) citing In re Joint Petition Filed by Dish Network,

  LLC, 28 FCC Rcd. 6574 (2013). The FAC clearly recites to this vicarious liability.

  [ECF No. 99, PageID.1013, ¶ 60].

        Congress has delegated to the Federal Communications Commission (“FCC”)

  the authority to promulgate regulations and enforce the requirements of the TCPA.

  See 47 U.S.C. § 227. The FCC has issued an extensive declaratory ruling on the issue

  of party liability under the TCPA, holding as follows:

               “[W]hile a seller does not generally initiate calls made
               through a third-party telemarketer, it nonetheless may be
               vicariously liable under federal common law
               agency-related principles for violations of either section
               227(b) or 227(c) committed by telemarketers that initiate
               calls to market its products or services.”

  In the Matter of Dish Network, LLC, 28 FCC Rcd, 6574, 6593, 2013 WL 1934349,

  at *15, ¶ 48 (2013). The FCC provided the following reasoned explanation:

               “[T]he seller is in the best position to monitor and police
               TCPA compliance by third-party telemarketers. We thus
               agree that, consistent with the statute's consumer protection
               goals, potential seller liability will give the seller
               appropriate incentives to ensure that their telemarketers
               comply with our rules. By contrast, allowing the seller to
               avoid potential liability by outsourcing its telemarketing
               activities to unsupervised third parties would leave
               consumers in many cases without an effective remedy for
               telemarketing intrusions. This would particularly be so if
               the telemarketers were judgment proof, unidentifiable, or
               located outside the United States, as is often the case. Even

                                            7
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1682 Filed 04/03/23 Page 13 of 35




               where third-party telemarketers are identifiable, solvent,
               and amenable to judgment, limiting liability to the
               telemarketer that physically places the call would make
               enforcement in many cases substantially more expensive
               and less efficient, since consumers (or law enforcement
               agencies) would be required to sue each marketer
               separately in order to obtain effective relief.”

  Id., 28 FCC Rcd. at 6593, 2013 WL 1934349, at *15, ¶ 47 (2013). The FCC further

  opined that imposing seller liability serves to ensure that “sellers will have an

  incentive to carefully choose their telemarketers to ensure compliance and to force

  consistent violators out of the marketplace.” Id., 28 FCC Rcd. at 6591, 2013 WL

  1934349, at *14, ¶ 44 (2013).

        In another case involving an insurance company and its independent agents

  making telephone solicitations, the FCC reiterated that the insurance company faced

  vicarious liability for the telemarketing done by its independent agents, as follows:

               “[A] company on whose behalf a telephone solicitation is
               made bears the responsibility for any violation of our
               telemarketing rules and calls placed by a third party on
               behalf of that company are treated as if the company itself
               placed the call.”

  In re State Farm Mutual Automobile Insurance Company, 20 FCC Rcd. 13664,

  13667, 2005 WL 1981564, at *3, ¶ 7 (2005).

        Michigan law holds defendants liable for all foreseeable acts of the other

  tortfeasor. “Conspiracy, by reason of the connection involved among the conspirators,

                                            8
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1683 Filed 04/03/23 Page 14 of 35




  may cause individuals to be responsible, who, but for the conspiracy, would not be

  responsible at all.” Roche v. Blair, 305 Mich. 608, 9 N.W.2d 861, 863 (1943)

  (quoting Bush v. Sprague, 51 Mich. 41, 16 N.W. 222, 225 (1883)). Likewise, if two

  persons act in concert with a common design or purpose and one of them commits a

  wrongful act injuring a third party, the person acting in concert with the wrongdoer

  is liable for the injury under a concert of action theory. Gaufin v. Valind, 268 Mich.

  269, 256 N.W. 335, 336 (1934). “Parties are acting in concert when they act in

  accordance with an agreement to cooperate in a particular line of conduct or to

  accomplish a particular result. The agreement need not be expressed in words or may

  be implied and understood to exist from the conduct itself. Whenever two or more

  persons commit tortious acts in concert, each become subject to liability for the acts

  of the others, as well as for his own acts.” El Camino Resources, Ltd. v. Huntington

  Nat. Bank, 722 F.Supp.2d 875, 901 (W.D.Mich., 2010).              In either case, the

  defendant's embrace of the actor's purpose or design—whether by agreement or by

  action—renders the defendant liable for the underlying tort.

        The FCC has determined that vicarious liability in the TCPA context is

  governed by the federal common law of agency. See Hodgin v. UTC Fire & Sec. Ams.

  Corp., 885 F.3d 243, 252 (4th Cir. 2018). Three agency theories may support

  vicarious liability: actual authority, apparent authority, and ratification. See Thomas

                                            9
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1684 Filed 04/03/23 Page 15 of 35




  v. Taco Bell Corp., 582 F. App'x 678, 679 (9th Cir. 2014). The existence of an agency

  relationship is generally a question of fact. See Ward v. Mgmt. Analysis Co. Emp.

  Disability Benefit Plan, 135 F.3d 1276, 1283 (9th Cir. 1988). At the motion to

  dismiss stage, a plaintiff need only “allege a factual basis that gives rise to an

  inference of an agency relationship through the use of generalized as opposed to

  evidentiary facts.” Mauer v. Am. Intercontinental Univ., Inc., No. 16 C 1473, 2016

  WL 4651395, at *2, 2016 U.S. Dist. LEXIS 120451, at *2 (N.D. Ill. Sept. 7, 2016).

        The FAC alleges a scheme amongst the co-defendants to engage in telephone

  solicitation en masse to consumers to market the insurance products of the named

  insurance companies. [ECF No. 99, PageID.1016-1023, ¶¶ 68-101]. A prevailing

  common denominator amongst the telephone solicitations was that the telemarketers

  identified themselves as being agents for FFL. [ECF No. 99, PageID.1030, ¶ 147;

  PageID.1031, ¶ 153; PageID.1032, ¶ 159; PageID.1033, ¶ 166; PageID.1034, ¶ 174;

  PageID.1035, ¶ 179; PageID.1036, ¶ 192; PageID.1038, ¶ 203; PageID.1045, ¶ 250;

  PageID.1051, ¶ 293; PageID.1055, ¶ 325].           Several of the insurance agents

  represented that they are authorized agents of GWIC. [ECF No. 99, PageID.996, ¶¶

  8-9; PageID.998, ¶¶ 17-18]. As a result of one of the calls, Plaintiff received a whole

  life insurance policy from GWIC via U.S. Mail. [ECF No. 99, PageID.1037, ¶ 196].

  A copy of significant pages from the mailed insurance policy are attached hereto at

                                            10
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1685 Filed 04/03/23 Page 16 of 35




  EXHIBIT A.

        In the instant case, we have an actionable tort in the form of the initiation of the

  telephone solicitation that is illegal under the TCPA. [ECF No. 99, PageID.1035, ¶

  182]. We have a purported insurance agent who represents that he is licensed to sell

  GWIC insurance products and quotes prices for same; therefore, there is either actual

  authority or apparent authority. [ECF No. 99, PageID.1036, ¶ 189]. And, as a result

  of the insurance agent’s telephone solicitation, GWIC issued Plaintiff a whole life

  insurance policy – which evidences ratification. [ECF No. 99, PageID.1037, ¶ 196].

  The fact that GWIC issued theinsurance policy also provides evidentiary support that

  the insurance agent had either actual or apparent authority from GWIC.

        The liability of coconspirators to civil damages is joint and several. AIG

  Aviation, Inc. v. Boorom Aircraft, Inc., 142 F.3d 431 (6th Cir. 1998). All those who,

  in pursuance of a common plan to commit a tortious act actively take part in it and

  further it by cooperation or request, or who lend aid or encouragement to the

  wrongdoer, or who ratify and adopt the acts done for their benefit, are equally liable

  with him. Rosenberg v. Rosenberg Bros. Special Account, 351 N.W.2d 563, 569, 134

  Mich.App. 342, 354 (Mich.App., 1984).

                      Federal Rules of Civil Procedure, Rule 8

        Fed. R. Civ. P. 8 establishes a system of notice pleading. Complaints are

                                             11
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1686 Filed 04/03/23 Page 17 of 35




  construed favorably to their drafters. Hrubec v. National R.R. Passenger Corp., 981

  F.2d 962, 963 (C.A.7 (Ill.),1992). A complaint need not narrate all relevant facts or

  recite the law; all it has to do is set out a claim for relief. Bartholet v. Reishauer A.G.

  (Zürich), 953 F.2d 1073, 1078 (7th Cir.1992); American Nurses' Ass'n v. Illinois, 783

  F.2d 716, 727 (7th Cir.1986). Over and over, appellate courts insist that a complaint

  not be dismissed unless no relief may be granted “under any set of facts that could be

  proved consistent with the allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73,

  104 S.Ct. 2229, 2232, 81 L.Ed.2d 59 (1984) (emphasis added); see also, e.g., Conley

  v. Gibson, 355 U.S. 41, 45–46, 78 S.Ct. 99, 101–102, 2 L.Ed.2d 80 (1957). Rule

  8(a)(1) of the Federal Rules of Civil Procedure is to be liberally construed. Barnes v.

  Irving Trust Co., 290 F.Supp. 116, 117 (D.C.Tex. 1968). The judicial history of Rule

  8 requires the Court to interpret the pleadings so that common sense and the ends of

  justice are not circumvented. Powers v. Troy Mills, Inc., 303 F.Supp. 1377, 1379

  (D.C.N.H. 1969).

         In the FAC, Plaintiff has sufficiently pled the liability of GWIC. Because

  “[i]dentifying the objectives and even the participants of an unlawful agreement is

  often difficult because of the clandestine nature of criminal conspiracies[,] ... direct

  proof of the conspiracy is not essential; instead, proof may be derived from the

  circumstances, acts, and conduct of the parties.” Bell v. Woods, 2014 WL 11206412,

                                              12
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1687 Filed 04/03/23 Page 18 of 35




  at *11 (E.D.Mich., 2014). The FCC also recognized the clandestine nature of

  arrangements between sellers and third-party marketers and the difficulties that

  presents at the pleading stage in a TCPA case:

               “In the case of either actions to enforce section 227(b) or
               actions to enforce do-not-call restrictions under section
               227(c), we stress that nothing in this order requires a
               consumer to provide proof — at the time it files its
               complaint — that the seller should be held vicariously
               liable for the offending call.”

  In the Matter of Dish Network, LLC, 28 FCC Rcd, 6574, 6593, 2013 WL 1934349,

  at *15, ¶ 47 (2013).

                     Plaintiff has alleged plausible TCPA claims
                     against GWIC.

               Direct Liability.

        Plaintiff concurs that Plaintiff has not plead a direct liability theory against

  TCPA.

               Vicarious Liability.

        Plaintiff has demonstrated, supra, that Defendant GWIC’s vicarious liability

  is plausibly alleged in the FAC. As shown, supra, the FAC alleges an actionable tort

  stemming from an unlawful telephone solicitation, the insurance agent had either

  actual or apparent authority to market GWIC products, and GWIC ratified that

  conduct by issuing a whole life insurance policy. This was part of a concert in action

                                           13
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1688 Filed 04/03/23 Page 19 of 35




  between the various co-defendants. GWIC attempts to defend by claiming that

  Plaintiff “does not demonstrate that the calls at issue were placed under GWIC’s

  knowledge, direction or control.” [EC No. 105, PageID.1126]. However, the FCC

  has declared that the TCPA requires that GWIC “ monitor and police TCPA

  compliance by [its] third-party telemarketers.” In the Matter of Dish Network, LLC,

  28 FCC Rcd. at 6593, 2013 WL 1934349, at *15, ¶ 47 (2013). And, it bears repeating

  that “a company on whose behalf a telephone solicitation is made bears the

  responsibility for any violation of our telemarketing rules and calls placed by a third

  party on behalf of that company are treated as if the company itself placed the call.”

  In re State Farm Mutual Automobile Insurance Company, 20 FCC Rcd. 13664,

  13667, 2005 WL 1981564, at *3, ¶ 7 (2005).

               Private of action under 47 C.F.R. § 64.1601(e)(1).

        GWIC recites to three cases in the United States District Court for the Eastern

  District of Michigan wherein this same Plaintiff has been previously unsuccessful in

  arguing that there is a private right of action for violations of 47 C.F.R. § 64.1601(e).

  All three decisions (Dobronski v. Total Insurance Brokers, LLC, No. 21-10035, 2021

  WL 4338957, at *7 (E.D. Mich. May 14, 4021); Dobronski v. SunPath Ltd., No. 19-

  13094, 2020 WL 8840311, at *7 (E.D. Mich July 20, 2020); and, Dobronski v.

  Selectquote Insurance Services, 462 F. Supp. 3d 784 790 (E.D. Mich. 2020))

                                             14
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1689 Filed 04/03/23 Page 20 of 35




  expressly relied upon the finding in an unpublished case -- Worsham v. Travel

  Options, Inc., No. JKB-14-2749 2016 WL 4592372, at *7 (D. Md. September 2,

  2016) – as being ”persuasive”. The fact remains that none of the above-recited

  decisions are binding precedent upon any court, and certainly not this Court.

        47 C.F.R. § 64.1601(e) was adopted by the FCC in 2003. See Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 68 FR

  44144 (July 25, 2003) (“Final Rule”). The FCC expressly recites in the Final Rule

  that it has adopted the regulations set forth therein, including the newly promulgated

  § 64.1601(e), pursuant to the authority of 47 U.S.C. § 227 and the Do-Not-Call

  Implementation Act, Public Law 108-10, 117 Stat. 557. The entirety of the Final Rule

  addresses the regulatory requirements promulgated by Congress under the various

  sub-subsections of 47 U.S.C. § 227(c). The TCPA requires the FCC “to protect

  residential telephone subscribers' privacy rights to avoid receiving telephone

  solicitations to which they object.” 47 U.S.C. § 227(c)(1). In so doing, 47 U.S.C. §

  227(c)(1)(a) directs the Commission to “compare and evaluate alternative methods

  and procedures” including the use of electronic databases and other alternatives in

  protecting such privacy rights. Rules and Regulations Implementing the Telephone

  Consumer Protection Act of 1991, 68 FR 44144-01 (FCC July 25, 2003).

        In its summary of the Final Rule, the FCC states:

                                           15
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1690 Filed 04/03/23 Page 21 of 35




               “In this document, we revise the current Telephone
               Consumer Protection Act of 1991 (TCPA) rules, and adopt
               new rules to provide consumers with several options for
               avoiding unwanted telephone solicitations. These new
               rules establish a national do-not-call registry, set a
               maximum rate on the number of abandoned calls, require
               telemarketers to transmit caller ID information, and
               modify the Commission's unsolicited facsimile advertising
               requirements.” [Emphasis added.]

  Rules and Regulations Implementing the Telephone Consumer Protection Act of

  1991, 68 FR 44144 (July 25, 2003). Clearly, the requirement for caller identification

  is an alternative method or procedure in protecting such privacy rights. This leads to

  the reasonable conclusion that the FCC was acting within its delegated authority

  under 47 U.S.C. § 227(c) when it promulgated § 64.1601(e).

        In Worsham v. Travel Options, Inc., the judge was clearly having some

  difficulty in determining under which subsection of 47 U.S.C. § 227 the subject

  regulation – 47 C.F.R. § 64.1601(e) – was adopted and explained his quandry, as

  follows:

               “In recognition of the role played by Caller ID in helping
               consumers avoid unwanted calls, and in conjunction with
               other amendments to its TCPA regulations in § 64.1200 et
               seq., the FCC specifically amended this set of regulations
               in 2003 by adding § 64.1601(e), which requires
               telemarketers to transmit caller identification information,
               including either calling party number (“CPN”) or automatic
               number identification of the calling party’s billing number
               (“ANI”) and, when available by the telemarketer’s carrier,

                                           16
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1691 Filed 04/03/23 Page 22 of 35




               the telemarketer’s name; this regulation also prohibited
               telemarketers from blocking the transmission of caller
               identification information. Rules and Regulations
               Implementing...(TCPA), 68 Fed. Reg. at 44,179. However,
               it is not clear whether § 64.1601(e) is promulgated
               under either subsection b or subsection c of the TCPA.
               Caller ID technology does not fit neatly into the focus of
               either subsection, neither of which requires the use of such
               technology to accomplish their respective purposes. Thus,
               it is also not clear whether a violation of § 64.1601(e)
               falls within the private right of action granted by
               subsection b or subsection c. It seems just as likely that
               the FCC may have only intended to ensure consistency
               between its preexisting Caller ID regulations and its
               revised TCPA regulations and/or the FTC’s regulations
               pertaining to telemarketing when the FCC promulgated §
               64.1601(e); those efforts all occurred at the same time, in
               2003. Additionally, the FCC said, ‘Caller ID requirements
               will improve the ability of consumers to identify and
               enforce do-not-call rights against telemarketers.’ 68 Fed.
               Reg. at 44,156. Therefore, the FCC’s rule in § 64.1601(e)
               appears to support consumers' enforcement efforts
               under the TCPA’s subsection c, rather than to create a
               separate mechanism upon which a consumer can make
               an actionable claim.” [Emphasis added.]

  Worsham v Travel Options, Inc., No. JKB-14-2749, 2016 WL 4592373, at *4 (D Md,

  September 2, 2016). However, the Travel Options judge apparently failed to read

  beyond the subsection title of 47 U.S.C. § 227(d), as nowhere in subsection d is there

  any mention of caller identification. Subsection d expressly – and solely -- addresses

  technical and procedural standards for telephone facsimile machines and artificial or

  prerecorded voice systems.

                                           17
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1692 Filed 04/03/23 Page 23 of 35




        Recently, a three judge panel on a state appellate court considered this same

  issue and unanimously determined that a private right of action does exist for

  violations of 47 C.F.R. § 64.1601(e). In Worsham v. Life Station, Inc., the Court of

  Special Appeals of Maryland opined and very cogently and concisely explained:

              “[T]he first amended complaint alleges a violation of 47
              C.F.R. § 64.1601(e)(1), an FCC regulation requiring that
              ‘[a]ny person or entity that engages in telemarketing, as
              defined in 47 C.F.R. § 64.1200(f)(10), must transmit’
              certain information via Caller ID. The circuit court ruled
              that Mr. Worsham could not bring a private cause of action
              for violation of this regulation, relying again on the
              unreported decision in Travel Options, which rather
              hesitantly determined that the regulation was
              promulgated under the authority of § 227(d), rather than §
              227(c), of the TCPA. Travel Options, 2016 WL 4592373,
              at *7; see also Dobronski v. Selectquote Ins. Servs., 462 F.
              Supp. 3d 784, 789-90 (E.D. Mich. 2020).

              Section 64.1601(e)(1) prohibits telemarketers from
              appearing on telephone subscribers’ Caller IDs as
              ‘unknown’ by requiring them to transmit certain Caller ID
              information, including the Calling Party Number (“CPN”)
              or Automatic Numbering Information (“ANI”), and, if
              possible, the name of the telemarketer.

              The regulation further provides that the information
              provided must be sufficient to ‘permit any individual to
              make a do-not-call request during regular business hours.’
              47 C.F.R. § 64.1601(e)(1). Thus, at an initial glance, §
              64.1601(e)(1) contains aspects that seem to further the
              purposes of both § 227(c) and (d). We must therefore
              explore each further.


                                          18
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1693 Filed 04/03/23 Page 24 of 35




              Section 227(c) authorizes the FCC to promulgate rules to
              protect telephone consumers’ privacy rights and create
              rules that will allow consumers to ‘avoid receiving
              telephone solicitations to which they object.’ The FCC is
              directed to do so by ‘compar[ing] and evaluat[ing]
              alternative methods and procedures (including ... telephone
              network technologies ...) for their effectiveness in
              protecting such privacy rights.’ 47 U.S.C. § 227(c)(1)(A).
              Section 227(d), on the other hand, instructs the FCC to (1)
              revise its rules for telephone facsimile machines, requiring
              the use of machines that can mark the faxed pages with
              identifying information, (2) prescribe rules requiring
              automatic or prerecorded telemarketing messages to
              include the identity of the telemarketer at the beginning of
              the message and its telephone number or address during, or
              at the end, of the message, and (3) automatically release the
              called party's line within five seconds. Importantly, as
              discussed above, § 227(d) does not purport to regulate live
              telemarketing calls.

              In adopting § 64.1601(e)(1), the FCC reasoned that ‘Caller
              ID allows consumers to screen out unwanted calls and to
              identify companies that they wish to ask not to call again.
              Knowing the identity of the caller is also helpful to
              consumers who feel frightened or threatened by hang-up
              and dead air calls.’ 68 Fed. Reg. at 44,167. Additionally,
              Caller ID allows a consumer to ‘make a do-not-call request
              during regular business hours,’ § 64.1601(e)(1), further
              protecting the subscriber's privacy right by preventing
              future calls. Although the FCC's consideration of what
              network information must be transmitted via Caller ID is
              technical, we think it falls within the scope of the
              technologies that § 227(c)(1)(A) directed the FCC to
              consider in protecting the privacy rights of consumers. See
              68 Fed. Reg. at 44,166-67 (evaluating the cost efficiency
              and availability of different network technologies for
              network transmission).

                                           19
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1694 Filed 04/03/23 Page 25 of 35




               Although the question is not free from doubt and the lines
               between regulations authorized by § 227(c) and (d) (or,
               perhaps, some combination of both) could be far clearer,
               for two reasons, we conclude that § 64.1601(e)(1) was
               promulgated pursuant to § 227(c) and, therefore, that a
               private right of action exists to enforce its provisions.
               First, to the extent the express terms of § 64.1601(e)(1)
               apply to live telemarketing calls, they would exceed the
               scope of regulation authorized by § 227(d), but not the
               scope of § 227(c). Second, by requiring the provision of
               information expressly for the purpose of allowing
               individuals ‘to make a do-not-call request,’ the regulation
               serves the purpose of § 227(c) of ‘protect[ing] subscribers
               from unrestricted commercial telemarketing calls.’ 68 Fed.
               Reg. at 44,167.” [Emphasis added.]

  Worsham v. LifeStation, Inc., No. 661, Sept. 2020 Term, 2021 WL 5358876, at

  *16–17 (Md. Ct. Spec. App., November 17, 2021).

        Accordingly, consistent with the reasoning set forth in Worsham v. LifeStation,

  Inc., Plaintiff asserts that a private right of action does exist under 47 C.F.R. §

  64.1601(e), and this Court should so hold.

               MTCCCA Claim (Count XII)

        Once again, GWIC wants to gloss past the fact that it has vicarious liability for

  the telemarketing calls as part of the concert of action. Further, GWIC attempts to

  claim that there was no attempt to deliver “intrastate commercial advertising” because

  “Plaintiff contends that GWIC is an Iowa corporation and he contends the alleged

  calls he received originated overseas.” [ECF No.105, PageID.11278]. GWIC glosses

                                            20
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1695 Filed 04/03/23 Page 26 of 35




  past the fact that most of the initiated telephone solicitations displayed caller

  identification numbers with a Michigan area code and were received by Plaintiff’s

  cellular telephone which has a Michigan area code and Plaintiff was in Michigan

  when the calls were received; thus, the calls, plausibly, were intrastate telephone

  solicitations.

                   MHSSA Claim (Count XIII)

         Like the MTCCCA claim, supra, GWIC glosses past the fact that it has

  vicarious liability for the telephone calls.

                   GWIC willfully violated the TCPA

         As discussed, supra, there is joint liability in a civil conspiracy or concert of

  action tort. GWIC jointly shares in the liability with the other co-defendant

  tortfeasors. Plaintiff’s telephone numbers were listed on the National Do Not Call

  Registry. [ECF No. 99, PageID.1011-1012, ¶¶ 51-52]. By listing his numbers on the

  National Do Not Call Registry, Plaintiff has given notice to the World that he does

  not wish to receive telephone solicitations at his residential or cellular telephone

  numbers. [ECF No. 99, PageID.1012, ¶ 53]. Defendant even went further and made

  specific “do not call” demands during calls. [ECF No. 99, PageID.1035, ¶ 180;

  PageID.1058, ¶ 344].

         The fact that the caller identification numbers in almost, if not all, of the

                                             21
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1696 Filed 04/03/23 Page 27 of 35




  telephone calls had been manipulated to display false numbers took a deliberate and

  overt act to manipulate the telephone network, and evidences a “willful and knowing”

  violation of the TCPA. [ECF No.99, PageID.1067, ¶ 386]. See 47 C.F.R. §

  64.1601(e). And, this regardless of whether there is a private right of action for a

  violation of that regulation. The “willful” nature of the other claims is evidenced by

  the repetitiveness and cannot be glossed over as an innocent mistake. Willful means

  “conscious and deliberate commission or omission ... irrespective of any intent to

  violate [ ].” 47 U.S.C. § 312(f). Siding and Insulation Co. v. Combined Ins. Group,

  Ltd., Inc., 2014 WL 1577465, at *4 (N.D.Ohio,2014). The FCC has imposed

  monetary forfeitures against licensees when their actions were “indisputably willful

  and patently inconsistent with the plain language” of the applicable regulations, even

  if they “may not have set out with the specific intention of violating” an FCC rule.

  U.S. v. Baxter, 841 F.Supp.2d 378, 393 (D.Me., 2012).

                                    CONCLUSION

        WHEREFORE, Plaintiff Mark W. Dobronski respectfully requests that this

  Court enter its order that Defendant Great Western Insurance Company’s Motion to

  Dismiss Pursuant to Rule 12(b)(6) be denied.




                                           22
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1697 Filed 04/03/23 Page 28 of 35




                                            Respectfully submitted,



  Date: April 3, 2023                       _______________________________
                                            Mark W. Dobronski
                                            Post Office Box 85547
                                            Westland, Michigan 48185-0547
                                            Telephone: (734) 330-9671
                                            Email: markdobronski@yahoo.com
                                            Plaintiff In Propria Persona




                                       23
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1698 Filed 04/03/23 Page 29 of 35




                           CERTIFICATE OF SERVICE

         I, Mark W. Dobronski, certify that on April 3, 2023, I caused a copy of the
  foregoing Plaintiff’s Response in Opposition to Defendant Great Western Insurance
  Company’s Motion to Dismiss Pursuant to Rule 12(b)(6) to be served upon all parties
  of record by sending same in a sealed envelope, with first-class postage fully prepaid
  thereupon, and deposited in the United States Mail, addressed as follows:

  D. Peter Valiotis, Esq.                       Lewis Jan Friedman
  Clark Hill                                    921 Ormsby Street
  500 Woodward Avenue, Suite 3500               Vista, California 92084-1436
  Detroit, Michigan 48226-3435

  John T. Mihelick, Esq.
  Dinsmore & Shohl, LLP
  900 Wilshire Drive, Suite 300
  Troy, Michigan 48084-1600

  Jennifer W. Weller, Esq.
  Hinshaw & Culbertson, LLP
  151 North Franklin Street, Suite 2500
  Chicago, Illinois 60606-1915

  Matthew J. Lund, Esq.
  Troutman Pepper Hamilton Sanders LLP
  4000 Town Center, Suite 1800
  Southfield, Michigan 48075-1505

  Alvin Lee, Esq.
  King & Spalding LLP
  1185 Avenue of the Americas, 34th Floor
  New York, New York 10036-2603


                                                _______________________________
                                                Mark W. Dobronski


                                           24
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1699 Filed 04/03/23 Page 30 of 35
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1700 Filed 04/03/23 Page 31 of 35
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1701 Filed 04/03/23 Page 32 of 35
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1702 Filed 04/03/23 Page 33 of 35
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1703 Filed 04/03/23 Page 34 of 35
Case 2:22-cv-12039-DPH-JJCG ECF No. 116, PageID.1704 Filed 04/03/23 Page 35 of 35
